822 F.2d 1103
    262 U.S.App.D.C. 41
    MISSISSIPPI INDUSTRIESv.FEDERAL ENERGY REGULATORY COMMISSION.
    Nos. 85-1611, 85-1615 to 85-1621, 85-1623, 85-1624, 85-1626,85-1637, 85-1640, 85-1647, 85-1712, 85-1719 and 85-1772.
    United States Court of Appeals,District of Columbia Circuit.
    June 24, 1987.
    
      Before WALD, Chief Judge;  ROBINSON, MIKVA, EDWARDS, RUTH B. GINSBURG, BORK, STARR, SILBERMAN, BUCKLEY, WILLIAMS and D.H. GINSBURG, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      Upon reconsideration of the suggestion for rehearing en banc of the City of New Orleans, Louisiana, the suggestion of Mississippi Industries, the Mississippi Attorney General and the Mississippi Public Service Commission, and of the suggestion of Mississippi Power and Light Company, it is
    
    
      2
      ORDERED by the Court en banc, on its own motion, that the suggestions are denied.  It is
    
    
      3
      FURTHER ORDERED by the Court en banc, on its own motion, that the Court's order of April 3, 1987, 814 F.2d 773, setting these cases for rehearing by the Court en banc is hereby vacated.  It is
    
    
      4
      FURTHER ORDERED by the Court en banc, on its own motion, that those parts of Section III(C)(2) of the opinion of January 6, 1987, 808 F.2d 1525, which address the two issues raised in the dissenting opinion, specifically, pages 1560 to the end of the first paragraph on page 1563, and the judgment of the same date insofar as it concerns those issues, are hereby reinstated.
    
    